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                                Exhibit Cover Sheet




          Party
          submitting: _________________      Ex. # 11


          Admitted: Yes or     No (circle one)


          Debtor: Lilly Real

          Case No.: 16-3913-JAF


          Adv. No.:________________________________

          Nature of Hearing/ Motion for Sanctions
          Docket No: 12


                  United States Bankruptcy Court
                       Middle District of Florida


          Dated       _____________ , 20___.

          By:_____________________, Deputy Clerk
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       IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
       IN AND FOR MIAMI DADE COUNTY, FLORIDA


       FRANK E. POLO                          Case No. 2017-003553-CA-34
                  Plaintiff,
        vs.

LILLI J. REAL; GUSTAVO J.
LOSA; STEPHANIE GRANDA;
THE LAW OFFICE OF GRANDA
&    ASSOCIATE;    MERLIN
HERNANDEZ;      RANDOLPH
MARTINEZ;         MILDRED
HERNANDEZ      ITURRALDE;
EMILIA ITURRALDE; REGINO
PEREZ; and RAUL GUERRERO.

                   Defendants.
       _______________________________________/


 MOTION FOR DECLARATORY JUDGMENT ON WHETHER THE DEBT AGAINST
  DEFENDANT LILLY JOSEPHINE REAL WAS DISCHARGED IN BANKRUPTCY
  PROCEEDING PREVENTING PLAINTIFF FROM EXERCISING HIS RIGHT TO
  OBTAIN LEGAL REDRESS FOR HIS INJURIES UNDER FLORIDA’S LAWS AND
                     CONSTITUTIONAL RIGHTS

       Plaintiff Frank E. Polo (“Polo”), hereby respectfully moves this Court to grant this

MOTION FOR DECLARATORY JUDGMENT ON WHETHER THE DEBT AGAINST

DEFENDANT LILLY JOSEPHINE REAL WAS DISCHARGED IN BANKRUPTCY

PROCEEDING PREVENTING PLAINTIFF FROM EXERCISING HIS RIGHT TO

OBTAIN LEGAL REDRESS FOR HIS INJURIES UNDER FLORIDA’S LAWS AND

CONSTITUTIONAL RIGHTS. Statutory provisions which may supports this motion for

Declaratory Judgment are 11 U.S.C. §523, and U.S.C. §362. In support of the Motion, Plaintiff

Frank E. Polo respectfully represents as follows:
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                             JURISDICTION AND VENUE

    1. This Court has obtained jurisdiction over all parties in this case under this Case No.

       2017-003553-CA-34.

    2. Venue is appropriate in the Eleventh Circuit Court in and for Miami Dade County

       because this Court has jurisdiction over the open case and it is in the interest of Judicial

       efficiency to issue a declaratory judgment in this case;

    3. This court has Jurisdiction “to declare rights, status, and other equitable or legal

       relations whether or not further relief is or could be claimed. . . The court may render

       declaratory judgments on the existence, or nonexistence. . . Of any immunity, power,

       privilege, or right” See §86.011, Fla. Stat.

    4. This court has concurrent jurisdiction with U.S. Bankruptcy Court flowing from the

       failure of Defendant Lilly J. Real to schedule the debt that arises under §523(a)(6) for

       willful and malicious injury by the debtor to another entity. See In re Massa, 217 B.R.

       412, 420 (Bankr. W.D.N.Y. 1998) (holding that “[a] debtor who fails to list a creditor

       who holds a debt of a kind specified in Section 523(a)(3)(B) loses the jurisdictional

       protections of Section 523(c)); See also In re Massa, 217 B.R. 412, 419 (Bankr.

       W.D.N.Y. 1998) (stating that “not only can a determination of nondischargeability

       flowing from Section 523(a)(3)(B) be made by the bankruptcy court, it can also be made

       by an appropriate state court which has concurrent jurisdiction to make such a

       Section 523(a)(3)(B) determination.”); Keenom v All Am. Mktg. (In re Keenom)

       (1999, BC MD Ga) 231 BR 116 (holding that “[s]tate court can decide whether debt is

       discharged under 11 USCS § 523(a)(3)(B) as statutory scheme provides that state court

       can decide whether creditor has colorable or viable claim that debt is of kind specified

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            in 11 USCS § 523(a)(2), (4), or (6) without intruding on exclusive jurisdiction of

            bankruptcy courts.”

       5. Ms. Real discharge in bankruptcy court was granted under 11 U.S.C. §727. See

            EXHIBIT B.

                                        BACKGROUND

       2.      On February 13, 2017, after the Meeting of Creditors which was held on December

13, 2016, Plaintiff in this case filed a civil proceeding against Ms. Lilly Josephine Real (“Ms.

Real”), and other defendants named in this case (no. 2017-003553-CA-01.) As of this date

(February 13, 2017) Plaintiff had not been name a creditor in the Bankruptcy case initiated by Ms.

Lilly Josephine Real (the “Bankruptcy Case”), and the dateline to object to discharge or to

challenge whether certain debts are dischargeable was precisely February 13, 2017 (same date that

Plaintiff filed his complaint for the first time). See EXHIBIT A.

       3.      Two days after Plaintiff filed his initial complaint, on February 15, 2017, the U.S.

Bankruptcy Court of the Middle District of Florida, under Case No. 3:16-bk-03913-JAF,

discharged the debts of Ms. Real. As of February 15, 2017, the Plaintiff in this case was not named

a creditor in the Bankruptcy Case. See EXHIBIT C.

       4.      Despite knowing that the Plaintiff in this case was never named as a creditor in the

Bankruptcy Case before the Meeting of Creditors, on April 03, 2017, Ms. Real filed a “Suggestion

of Bankruptcy with this Court, attached herein as EXHIBIT C, which moved this Court to enter

an order placing the case in inactive status. See EXHIBIT D. This status is preventing Plaintiff

from continuing the case against Ms. Real, and all other Defendants. Moreover, a Motion for Leave

to Amend the Complaint is pending, due to the status of this case.

       5.      On April 03, 2017, Ms. Real’s attorney mailed a Notice of Chapter 7 Bankruptcy,

which has filling date of October 26, 2016. See EXHIBIT A. In that notice, the date for the Meeting
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of Creditors was December 13, 2016 at 10:00 AM. The filling deadline for an objection to

discharge was February 13, 2017 (almost 2 months before Ms. Real served Mr. Polo with the

Notice of Chapter 7 Bankruptcy.)

         6.    On April 3, 2017, Ms. Real filed an amended Schedule E/F naming Plaintiff in this

case a creditor who holds unsecured claim against Ms. Real. (almost four (4) month after the

Meeting of Creditors and two months after the filling deadline for an objection to discharge had

past.)

         7.    On May 26, 2015, the Plaintiff in this case filed a Motion to Vacate the Family

procedure based on Fraud on the Court performed by Ms. Real. See EXHIBIT F. Then on August

2015, the Plaintiff in this case began Law School.

         8.    Ms. Real is a Lawyer with a Florida Bar No. 77682. Graduated from one of the

most prestigious university in the state of Florida and the country, The Florida State University

College of Law. Ms. Real has more than 20 years of experience as a lawyer (graduated in 1995).

                                             THE LAW

         9.    11     U.S.       Code   §    523(a)(6)      states   that    “A    discharge     under

section 727, 1141, 1228(a), 1228(b), or 1328(b) of this title does not discharge an individual

debtor from any debt . . . for willful and malicious injury by the debtor to another entity or to the

property of another entity[.]”

         10.   11 U.S.C. § 727(b) provides that “Except as provided in section 523 of this title, a

discharge under subsection (a) of this section discharges the debtor from all debts that arose before

the date of the order for relief under this chapter . . .” Nevertheless, it recognizes that a discharged

falling under §523 does not permit for a discharge under §727(a).

         11.   11 U.S.C. §523(a)(B) states in pertinent part that “A discharge under section 727,

1141, 1228(a), 1228(b), or 1328(b) of this title does not discharge an individual debtor from any
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debt. . . if such debt is of a kind specified in paragraph (2), (4), or (6) of this subsection, timely

filing of a proof of claim and timely request for a determination of dischargeability of such debt

under one of such paragraphs, unless such creditor had notice or actual knowledge of the case in

time for such timely filing and request.”

       12.     “Inadequate notice is a defect which precludes discharge of a claim in bankruptcy.

Due process requires notice that is ‘reasonably calculated to reach all interested parties, reasonably

conveys all the required information, and permits a reasonable time for a response.’” Chemetron

Corp. v. Jones, 72 F.3d 341, 346 (3d Cir. 1995) (quoting Greyhound Lines, Inc. v. Rogers (In re

Eagle Bus Mfg., Inc.), 62 F.3d 730, 735 (5th Cir. 1995))

                           a   Additionally, “The fundamental requirement of due process is

                   the opportunity to be heard ‘at a meaningful time and in a meaningful

                   manner.’” Mathews v. Eldridge, 424 U.S. 319, 333, 96 S. Ct. 893, 902 (1976)

                   (quoting Armstrong v. Manzo, 380 U.S. 545, 552 (1965)).

       13.     “A creditor's identity is ‘reasonably ascertainable’ if that creditor can be identified

through ‘reasonably diligent efforts.’” Chemetron Corp. v. Jones, 72 F.3d 341, 346 (3d Cir. 1995)

(quoting Mennonite Bd. of Missions v. Adams, 462 U.S. 791, 103 S. Ct. 2706 (1983))

                                            ANALYSIS
          WILLFUL AND MALICIOUS INJURY BY THE DEBTOR TO ANOTHER ENTITY

       14.     The Plaintiff in this case brought a cause of action against Ms. Real for Interference

with Lawful Custody of Two Minor Children. The Plaintiff in this case alleges that (1) Ms. Real

was a party outside the relationship of the Father and his children, (2) intentionally, remove the

children from the Father, without a court order, in a day that the Father had lawful custody of the

children. Moreover, Ms. Real wrote to the daycare indicating that she knew it was the day of the

father to exercise lawful custody and that there was not a court order to remove the children from
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the Plaintiff. (3) children were removed from the Plaintiff without the Plaintiff’s consent; and (4)

that Ms. Real’s intentional interference caused harm to the Plaintiff. Consequently, the claims of

the Plaintiff support a finding of intentional tort which is willful and malicious against the Plaintiff.

       15.      The plaintiff brought a cause of action against Ms. Real for Malicious Prosecution

and he alleges that: (1) Ms. Real conspired with other defendants to interfere with the Plaintiff

lawful right to custody through unlawful means, and to maliciously prosecute the Plaintiff in this

case Ms. Real joined the conspiracy, became part of the conspiracy and began acting in furtherance

of the conspiracy; (2) that Ms. Lilly J. Real committed overt acts in furtherance of the agreement

the defendants had. Ms. Lilly J. Real to interfered with legal custody of two children when she

knew doing this was not supported by the Law, the facts and not even by an objective test of

reasonableness; (3) that Ms. Real committed Fraud on the court (willful and malign injury) against

the plaintiff by introducing a misleading final report in which she said that the Plaintiff was

building a case against Ms. Hernandez and for this she alleged that the father was sending of

pictures without face of the children, which she could not say if those were the children and without

actual dates of when the incident the shown on the pictures; (4) That Ms. Real, further testified,

under oath, to these facts contained in her report, and thereby she influenced the court decision by

illegal means; and (5) that the actions of the guardian in furtherance of the conspiracy (willful and

malign injury) caused harm on the Plaintiff. Consequently, the allegations of the plaintiff are

enough to stablish the elements of an intentional tort that cannot be accomplished by other means

than through willful and malign acts against plaintiff.

       16.      Plaintiff complaint states that Ms. Real’s outrageous conduct caused severe

emotional distress (willful and malign injury) to the Plaintiff and states as follows: (1) That the

conduct of Ms. Real was intentional; (2) That Ms. Real’s conduct was totally outrageous as to go

against all bounds of decency as to be regarded as odious and utterly intolerable in a civilized
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community; and (3) that the emotional distress was severe as to cause injury to the Plaintiff.

Accordingly, the allegations of the plaintiff are sufficient for this court to make a finding of another

willful and malign injury against Plaintiff.

       17.     Since all aforementioned causes of action that Plaintiff brought against Ms. Real

fall under 11 U.S. Code § 523(a)(6), 11 U.S. Code § 523(a)(3)(B) applies in this case when the

Plaintiff was not listed as a creditor with enough time to

                                               11 U.S.C §523(a)(B)

       18.     11 U.S.C. §523(a)(B) states in pertinent part that “A discharge under section 727,

1141, 1228(a), 1228(b), or 1328(b) of this title does not discharge an individual debtor from any

debt. . . neither listed nor scheduled under section 521(a)(1) of this title, with the name, if known

to the debtor, of the creditor to whom such debt is owed, in time to permit. . . if such debt is of a

kind specified in paragraph (2), (4), or (6) of this subsection, timely filing of a proof of claim and

timely request for a determination of dischargeability of such debt under one of such paragraphs,

unless such creditor had notice or actual knowledge of the case in time for such timely filing and

request.”

       19.     The plaintiff in this case was never listed as a creditor. On February 13, 2017, after

the Meeting of Creditors which was held on December 13, 2016, Plaintiff in this case filed a civil

proceeding against Ms. Lilly Josephine Real (“Ms. Real”), and other defendants named in this case

(no. 2017-003553-CA-01.) As of this date (February 13, 2017) Plaintiff had not been name a

creditor in the Bankruptcy case initiated by Ms. Lilly Josephine Real, and the dateline to object to

discharge or to challenge whether certain debts are dischargeable was precisely February 13, 2017

(same date that Plaintiff filed his complaint for the first time). See EXHIBIT A.

       20.     Two days after Plaintiff filed his initial complaint, on February 15, 2017, the U.S.

Bankruptcy Court of the Middle District of Florida, under Case No. 3:16-bk-03913-JAF,
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discharged the debts of Ms. Real. As of February 15, 2017, the Plaintiff in this case was not named

a creditor in the Bankruptcy Case. See EXHIBIT C.

       21.     Despite knowing that the Plaintiff in this case was never named as a creditor in the

Bankruptcy Case before the Meeting of Creditors, on April 03, 2017, Ms. Real filed a “Suggestion

of Bankruptcy with this Court, attached herein as EXHIBIT C, which moved this Court to enter

an order placing the case in inactive status. See EXHIBIT D. This status is preventing Plaintiff

from continuing the case against Ms. Real, and all other Defendants.

       22.     On April 03, 2017, Ms. Real’s attorney mailed a Notice of Chapter 7 Bankruptcy,

which has filling date of October 26, 2016. See EXHIBIT A. In that notice, the date for the Meeting

of Creditors was December 13, 2016 at 10:00 AM. The filling deadline for an objection to

discharge was February 13, 2017 (almost 2 months before Ms. Real served Mr. Polo with the

Notice of Chapter 7 Bankruptcy.)

       23.     On April 3, 2017, Ms. Real filed a Schedule E/F naming Plaintiff in this case a

creditor who holds unsecured claim against Ms. Real. Notice this was done almost four (4) month

after the Meeting of Creditors and two months after the filling deadline for an objection to

discharge had past.

       24.     Consequently, due to the failure of Ms. Real to list the Plaintiff before the Meeting

of Creditors, Before the deadline to file an objection to discharge (February 13, 2017), and before

the court had discharge her debts, the plaintiff in this case believes that the debt was never

discharged and that he may have a right to continue with current litigation against Ms. Real and

all other defendants. See (holding that “claims arising from fraud were not discharged under 11

USCS § 523(a)(3)(B) because creditors were not named.”)




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         OPPORTUNITY TO BE HEARD IN ACCORDANCE WITH DUE PROCESS OF LAW

             UNDER U.S. CONST. AMEND. XIV. §1., AND FLA. CONST. ART. I, §9.

       25.     The meeting of creditors gives the creditor an opportunity to be heard. Without

proper notice, the creditor does not have an opportunity to be heard and this was never given to

the Plaintiff in this case. Ms. Real, intentionally name the plaintiff in this case as creditor in the

bankruptcy case, on, after the meeting of creditor had passed, on December 13, 2016, and after she

received a discharge of all debts February 13, 2017. Consequently, the Plaintiff in this case never

had an opportunity to be heard, and since he did not have an opportunity to be heard the debt must

not be discharged due to the flagrant violation to the U.S. and Florida Constitution due process of

law. Moreover, since the moment that Ms. Real decided to commit and intentional tort against the

Plaintiff in this case. Ms. Real knew, as a competent lawyer with Florida license to practice and

more than 20 years of experience as a lawyer, knew that once she had decided to act against the

plaintiff, she was creating a reasonable ascertainable creditor.

                  PLAINTIFF WAS A REASONABLE ASCERTAINABLE CREDITOR

       26.     On May 26, 2015, the Plaintiff in this case filed a Motion to Vacate the Family

procedure based on Fraud on the Court performed by Ms. Real. Ms. Real was made aware that the

Plaintiff in this case had evidence to demonstrate that she had committed fraud on the court. See

EXHIBIT F. Moreover, Ms. Real, as a knowledgeable lawyer, with 20 years of experience, a

license to practice law and formal legal education, knew or should have known that it was

reasonable that the Plaintiff at any time, could have started legal actions against her, beyond the

request for an annulment of the final judgment, not only when he filed a motion to vacate accusing

Ms. Real of committing fraud on the court, but also when she consciously, willingly and with

premeditation interfered with the custody of two minor children when this interference was not

support by them existing law and neither by a reasonable standard. Thereafter, on August 2015,

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the Plaintiff in this case began Law School, and all other co-conspirators in this case knew this.

Therefore, she knew the chances of getting a cause of action against her were increased once the

Plaintiff had started law school. Therefore, she had another good reason to believe that the Plaintiff

in this case was a reasonable ascertainable creditor.

       27.     After the plaintiff in this case filed a motion to vacate accusing Ms. Real of

committing fraud on the court to interfere with the custody of the Plaintiff, there was no much

reasonably diligent efforts that Ms. Real had to apply to known that the Plaintiff in this case was a

reasonable ascertainable creditor since the same instant in which she decided to collude with the

other defendants to bring about harm to the Plaintiff in this case, and take steps in furtherance of

the conspiracy they had. See Patti v. Colanduoni (In re Patti), 449 B.R. 224, 226 (Bankr. M.D. Pa.

2011) (holding that “[a]s reasonably ascertainable creditors, they could also be categorized as

‘known creditors’ entitled to notice of the bankruptcy.” Patti v. Colanduoni (In re Patti), 449 B.R.

224, 226 (Bankr. M.D. Pa. 2011).

       28.     As much as it is reasonable ascertainable that battering, killing, or acting illegally

against property or person creates a reasonable ascertainable creditor, it was reasonable for Ms.

Real to know that she had created a reasonable ascertainable creditor. Consequently, Ms. Real was

aware since the moment that she intentionally acted against the Mr. Polo, that Mr. Polo was a

reasonable ascertainable creditor and she failed to name the Plaintiff in this case a creditor and this

does not discharge the debt under 11 U.S.C. §727 in accordance to 11 U.S.C. §523(a)(B).

                                      RELIEF REQUESTED

       29.     The Plaintiff honestly believe that Ms. Real’s debt, in respect to the Plaintiff, was

never discharged. Therefore, the Plaintiff respectfully requests that this Court issue a declaratory

judgment reinstating the Plaintiff’s right to continue with the legal proceeding against Ms. Real

and all defendants in this case.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing motion was sent via e-

filing to the following individuals hereunder, on this 31 days of August 2017.

   To: Lourdes Maria Fernandez FL127418                   By: ________/s/_________________
   Defendant’s Co-Counsel                                 Frank Polo Sr.
   Via: E-Filing                                          1475 SW 8th St Apt 411
                                                          Miami, FL. 33135
   To: Gregory Fidel Betancourt FL143669                  Telephone: 305-901-3360
   Defendant’s Co-Counsel                                 Email: Frank.Polo@msn.com
   Via: E-Filing




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Information to identify the case:
Debtor 1               Lilly Josephine Real                                               Social Security number or ITIN        xxx−xx−5345
                       First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
                       First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                          EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida                      Date case filed for chapter 7 10/24/16

Case number:          3:16−bk−03913−JAF


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                            12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive
damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors
can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want
to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the
deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.
                                                  About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                        Lilly Josephine Real

2.      All other names used in the               fka Lilliana Maria Real
        last 8 years

3.     Address                                    10023 Belle Rive Blvd. Apt 1303
                                                  Jacksonville, FL 32256

4.     Debtor's attorney                          Edward P Jackson                                     Contact phone 904−358−1952
                                                  255 N. Liberty Street, First Floor
       Name and address                           Jacksonville, FL 32202                               Email: edward@edwardpjackson.com

5.     Bankruptcy Trustee                         Alexander G. Smith                                   Contact phone 904−733−3822
                                                  2601 University Blvd., West
       Name and address                           Jacksonville, FL 32217

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim trustee
pursuant to 11 USC § 701.
                                                                                                                   For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                        page 1
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Debtor Lilly Josephine Real                                                                                           Case number 3:16−bk−03913−JAF


6. Bankruptcy Clerk's Office                         300 North Hogan Street Suite 3−150                            Hours open:
                                                     Jacksonville, FL 32202                                        Monday − Friday 8:30 AM − 4:00PM
    Documents in this case may be filed at this
    address. You may inspect all records filed in                                                                  Contact phone 904−301−6490
    this case at this office or online at
    www.pacer.gov.
                                                                                                                   Date: October 25, 2016

7. Meeting of creditors                              December 13, 2016 at 10:00 AM                                 Location:

    Debtors must attend the meeting to be            The meeting may be continued or adjourned to a                FIRST FLOOR, 300 North Hogan
    questioned under oath. In a joint case, both     later date. If so, the date will be on the court              St. Suite 1−200, Jacksonville, FL
    spouses must attend. Creditors may attend,
    but are not required to do so. You are           docket.                                                       32202
    reminded that Local Rule 5073−1 restricts
    the entry of personal electronic devices into       *** Debtor(s) must present Photo ID and acceptable
    the Courthouse.                                    proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you may
    have the right to file a motion to dismiss the
    case under 11 U.S.C. § 707(b). Debtors
    may rebut the presumption by showing
    special circumstances.


9. Deadlines                                         File by the deadline to object to discharge or to Filing deadline: February 13, 2017
                                                     challenge whether certain debts are
    The bankruptcy clerk's office must receive       dischargeable:
    these documents and any required filing fee
    by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to
                                                       receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                       or

                                                     • if you want to have a debt excepted from discharge
                                                       under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied
                                                       under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.   conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                     of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless       send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                     be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                     You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                                     believe that the law does not authorize an exemption that the debtors claim, you may file
                                                     an objection. The bankruptcy clerk's office must receive the objection by the deadline to
                                                     object to exemptions in line 9.

13. Voice Case Info. System (McVCIS) McVCIS provides basic case information concerning deadlines such as case opening and closing
                                     date, discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day
                                     except when routine maintenance is performed. To access McVCIS toll free call 1−866−222−8029.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                     page 2
        Case 3:18-cv-00662-BJD
                  Case 3:16-bk-03913-JAF
                                Document 3-24
                                          Doc 8Filed
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                                                      06/20/18
                                                         02/15/17
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                                                                           272PageID 255
Form B18 (Official Form 18)(12/07)

                                      United States Bankruptcy Court
                                                Middle District of Florida
                                               Case No. 3:16−bk−03913−JAF
                                                        Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Lilly Josephine Real
    fka Lilliana Maria Real
    10023 Belle Rive Blvd. Apt 1303
    Jacksonville, FL 32256
Social Security No.:
   xxx−xx−5345
Employer's Tax I.D. No.:



                                             DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                 ____________________________________________
                                                 Jerry A. Funk
         Dated: February 15, 2017                United States Bankruptcy Judge



                       SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
        Case 3:18-cv-00662-BJD
                  Case 3:16-bk-03913-JAF
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                                          Doc 8Filed
                                                   Filed
                                                      06/20/18
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                                                                        2 of
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FORM B18 continued (12/07)


                                        EXPLANATION OF BANKRUPTCY DISCHARGE
                                                 IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it does
not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages or
other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving community
property: There are also special rules that protect certain community property owned by the debtor's spouse, even if that
spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay damages and attorney's
fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a debtor
may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun
under a different chapter of the Bankruptcy Code and converted to chapter 7 , the discharge applies to debts owed when
the bankruptcy case was converted.)

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes;

     c. Debts that are domestic support obligations;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft while intoxicated;

     g. Some debts which were not properly listed by the debtor;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not discharged;

     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in compliance with the
     Bankruptcy Code requirements for reaffirmation of debts; and

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings Plan for federal employees for
     certain types of loans from these plans.




      This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact effect of
the discharge in this case.
8/29/2017                              Miami-Dade
            Case 3:18-cv-00662-BJD Document   3-24Official Records
                                                        Filed      - Print Document
                                                                06/20/18        Page 17 of 27 PageID 257




https://www2.miami-dadeclerk.com/Public-Records/PrintDocument.aspx?QS=YaoUfOzxry1pwcYub%2bwcc%2f%2bD7kJqcE8%2fcxCl4KKv1gTJGIQp…   1/1
Case 3:18-cv-00662-BJD Document 3-24 Filed 06/20/18 Page 18 of 27 PageID 258
Case 3:18-cv-00662-BJD Document 3-24 Filed 06/20/18 Page 19 of 27 PageID 259
                Case 3:18-cv-00662-BJD
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                                                       Filed
                                                           Filed
                                                             06/20/18
                                                                 04/03/17
                                                                        PagePage
                                                                             20 of1 27
                                                                                    of 5PageID 260
 Fill in this information to identify your case:

 Debtor 1                  Lilly Josephine Real
                           First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA

 Case number           3:16-bk-03913
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                           amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Frank E. Polo                                           Last 4 digits of account number                                                                  $150,000.00
              Nonpriority Creditor's Name
              1475 SW 8th Street                                      When was the debt incurred?
              Apt. 411
              Miami, FL 33135
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                          Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

               No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                    Other. Specify     2017-03553-CA-01

 Part 3:        List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:        Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                   Total Claim


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 2
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                                                        Filed
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                                                                                 of 5PageID 261
 Debtor 1 Lilly Josephine Real                                                                          Case number (if know)    3:16-bk-03913
                        6a.   Domestic support obligations                                               6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                     0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                     0.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $              150,000.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $              150,000.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 2
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                                                      Filed
                                                          Filed
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                                                                                   of 5PageID 262
 Fill in this information to identify your case:

 Debtor 1                   Lilly Josephine Real
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF FLORIDA

 Case number           3:16-bk-03913
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              23,554.45

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              23,554.45

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $              33,277.68

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $             150,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             680,003.02


                                                                                                                                     Your total liabilities $                   863,280.70


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                3,091.84

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,955.19

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of 2
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 Debtor 1      Lilly Josephine Real                                                       Case number (if known) 3:16-bk-03913

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       1,258.44


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            150,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            400,000.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            550,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

                                                  Case No: 16-03913-JAF
In re:
         Lilly Real,

                Debtor.
                                          /


                DECLARATION CONCERNING DEBTOR’S SCHEDULES
          DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

      I, Lilly Real, declare under penalty of perjury that I have read the foregoing
Amended Schedule F and Amended Summary and Schedules consisting of 4 sheets,
and that they are true and correct to the best of my knowledge, information and belief.

         Dated: 4/3/2017                   /s/ Lilly Real
                                           Lilly Real




                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the Amended Schedule F, Amended
Summary of Schedules, along with the Notice of Commencement was furnished to their regular
place of business: Alexander Smith, Trustee, 2601 University Blvd. West, Jacksonville, FL
32217 and Frank E. Polo, 1475 SW 8th Street, Apt. 411, Miami, FL 33135, via regular U.S. Mail
or through the CM/ECF system, this 3rd day of April, 2017.


                                           /s/ Edward P. Jackson
                                           EDWARD P. JACKSON
                                           Attorney to Debtor
                                           255 N. Liberty Street, First Floor
                                           Jacksonville, FL 32202
                                           (904) 358-1952 VOICE
                                           (904) 358-1288 Fax
                                           Fla Bar Number: 286648
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